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                        UNITED STATES BANKRUPTCY COURT
                      FOR THE WESTERN DISTRICT OF MICHIGAN
                             _______________________

In re:
                                                        Case No. BL 14-06578
ASHLEIGH JEAN SUNDERLIN,                                Chapter 13

     Debtor.
__________________________________________/

ASHLEIGH JEAN SUNDERLIN,
                                                        Adversary Proceeding
         Plaintiff,                                     No. 21-80010

-vs-

NAVIENT SOLUTIONS, INC.,
WELLS FARGO, N.A.,
BOSTON PORTFOLIO ADVISORS, INC., and
TURNSTILE CAPITAL MANAGEMENT, LLC,

     Defendants.
__________________________________________/


                               FIRST PRETRIAL ORDER

       A first pretrial conference respecting the above adversary proceeding took place
in Lansing, Michigan, on October 5, 2021. Appearing at the pretrial conference were:

Jeffrey D. Mapes, Esq., attorney for Plaintiff (by videoconferencing).

Steven J. Cohen, Esq., attorney for Defendant Navient Solutions, Inc.

Jonathan M. Sterling, Esq. attorney for Wells Fargo, N.A.

Gregory N. Blase, Esq., attorney for Wells Fargo, N.A. (by videoconferencing).

Defendants Boston Portfolio Advisors, Inc. and Turnstile Capital Management, LLC have
not answered the Amended Complaint and did not appear at the pretrial conference.
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Jurisdiction

       Jurisdiction exists pursuant to 28 U.S.C. § 1334. This matter is a core proceeding
pursuant to 28 U.S.C. § 157(b)(2)(I) (determinations as to the dischargeability of particular
debts).

       The Plaintiff, Defendant Navient Solutions, Inc., and Defendant Wells Fargo, N.A.
all consented to this bankruptcy court entering a final order on the record at the pretrial
conference.

Issues

With regard to each of the loans identified in the Amended Complaint:

   1. Is the Debtor-Plaintiff entitled to a declaratory judgment that the loans at issue do
      not fit within the exception to discharge set forth in 11 U.S.C. § 523(a)(8)(A)(i)?

   2. Is the Debtor-Plaintiff entitled to a declaratory judgment that the loans at issue do
      not fit within the exception to discharge set forth in 11 U.S.C. § 523(a)(8)(A)(ii)?

   3. Is the Debtor-Plaintiff entitled to a declaratory judgment that the loans at issue do
      not fit within the exception to discharge set forth in 11 U.S.C. § 523(a)(8)(B)?

   4. Even if the loans are student loans under 11 U.S.C. § 523(a)(8), should they be
      discharged because repayment of the loans would impose an undue hardship on
      the Debtor-Plaintiff?

Navient Solutions, Inc.:

   5. Defendant Navient admits that the Debtor-Plaintiff is indebted to it under the 3
      loans identified in the amended complaint. It denies many of the other allegations
      and states that it does not have sufficient information to respond to others.

Wells Fargo:

   6. Wells Fargo asserts several "affirmative defenses," which argue that its loans to
      the Debtor-Plaintiff are presumptively nondischargeable under 11 U.S.C.
      § 523(a)(8)(B) and § 523(a)(8)(A)(ii) and that the Debtor-Plaintiff has failed to
      establish that repayment of the loans would constitute an undue hardship.


Pleadings

     At the pretrial conference, counsel for the Plaintiff informed the court that
Younomics Private Student Loan Trust will be substituted for Turnstile Capital
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Management, LLC, as a Defendant in this proceeding. The parties shall file a stipulation
effectuating that change.

       Otherwise, all parties believe that the pleadings are now in order.

         In the event that any party desires to file an amended pleading, such pleading shall
only be filed upon stipulation by the other party (or parties) or pursuant to court order,
after filing a motion to amend.

Discovery

       Discovery in this adversary proceeding shall remain open until further order of the
court. A deadline for the completion of discovery will likely be established at the Second
Pretrial Conference.

Discovery Motions

         The court will not consider motions related to contested discovery unless, prior to
the filing of the motion, the parties have conferred, through direct dialogue and discussion
either in person or by telephone, and attempted to resolve their differences in good faith.
Any discovery motion filed with the court shall include a statement of compliance with this
requirement. The statement must contain sufficient facts to allow the court to evaluate
the adequacy of the parties’ compliance or noncompliance with the meet and confer
requirement. Failure to satisfy the meet and confer requirement and/or failure to include
a statement of compliance with the discovery motion may result in denial of the motion.

Settlement and Facilitative Mediation

      The court encourages settlement and requires the parties to consider Alternative
Dispute Resolution. Specifically, the court encourages the use of a facilitative mediation
option pursuant to this court’s Alternative Dispute Resolution Program (the “ADR
Program”). See Local Bankruptcy Rules 9019-1 through 9019-23.

       The parties shall discuss facilitative mediation prior to the Second Pretrial
Conference. If the parties agree to facilitative mediation, both parties shall file a notice of
same with the court on or before December 31, 2021. Upon receipt of such a notice, the
court shall enter a separate order referring the adversary proceeding to the court’s ADR
Program. The order will likely adjourn the Second Pretrial Conference.

Rule 7026(f) Conference & Discovery Plan

       The parties shall meet at least once in person or telephonically prior to the Second
Pretrial Conference to discuss: (a) the nature and basis of their claims and defenses;
(b) the possibility of a prompt resolution of the adversary proceeding; (c) what additional
discovery may be needed and when discovery should be completed; (d) the disclosure
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 and preservation of discoverable evidence, including electronically stored information;
 and (e) arrangements for providing the disclosures required by Fed. R. Bankr.
 P. 7026(a)(1).

       The parties shall file with the court a report, signed by all parties, outlining the
 discovery plan by no later than December 31, 2021. In accordance with Fed. R. Bankr.
 P. 7026(b)(1), the scope of discovery provided for in the discovery plan shall be
 proportional to the needs of the case.

 Subsequent Pretrial Conference Date

       A second pretrial conference will be held on January 5, 2022, at 11:00 a.m. at the
 United States Bankruptcy Court, U.S. Post Office & Courthouse Bldg., 315 W. Allegan,
 Room 101, Lansing, Michigan 48933.

         The parties may appear at the Second Pretrial Conference by Zoom
         videoconferencing, provided that they have complied with all provisions of
         this First Pretrial Order. Please review the "Remote Hearing Procedures"
         notice on the court’s website for more information and log-in instructions:
         https://www.miwb.uscourts.gov/covid-19-notices.

        IT IS FURTHER ORDERED that the Clerk shall serve a copy of this Order pursuant
 to Fed. R. Bankr. P. 9022 and LBR 5005-4 upon:

 Jeffrey D. Mapes, Esq.
 Steven J. Cohen, Esq.
 Jonathan M. Sterling, Esq.
 Gregory N. Blase, Esq.
 Monette Cope, Esq.

                                      END OF ORDER




IT IS SO ORDERED.

Dated October 8, 2021
